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             IN THE UNITED STATES DISTRICT COURT FOR
                THE SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION
                                                                C-)

UNITED STATES OF AMERICA,          )                                  CrN   F
V.                                 )          Case No. CR46-26-07
                                   )



ANTHONY POINTER                    )
              Defendant.           )                                  co


      Stephanie 0. Burgess, counsel of record for defendant Anthony

Pointer in the above-styled case has moved for leave of absence.

The Court is mindful that personal and professional obligations

require the absence of counsel on occasion. The Court, however,

cannot accommodate its schedule to the thousands of attorneys who

practice within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.


      SO ORDERED this        -- day of September 2016




                                   WILLIAM T. MOORE, JR
                                   UNITED STATES DISTRIT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
